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 6
                          IN THE UNITED STATES DISTRICT COURT
 7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA                        Case No.: 15-CR-0209 GEB
10
11
            vs.                                      STIPULATION TO RESET BRIEFING
12                                                   SCHEDULE; ORDER THEREON
13
     DANIEL BENNETT.                                 Date: January 27, 2017
14                                                   Time: 9:00 a.m.
15                                                   Judge: Hon. Garland E. Burrell
16
17          IT IS HEREBY STIPULATED by and between the parties hereto through their
18
     respective counsel, Justin Lee, Assistant United States Attorney, attorney for Plaintiff,
19
20   and Steven B. Plesser, attorney for defendant Bennett, to reset a briefing schedule for the

21   filing of dispositive pre-trial motions as follows:
22
            Defense Filing: November 18, 2016
23
24          Government Opposition: December 23, 2016
25
26          Defense Replies: December 30, 2016

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            Hearing on the Motions: January 27, 2017
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 4          This continuance is requested as defense needs additional time to complete factual
 5
     background investigation and legal research. Accordingly, all counsel and defendant
 6
 7   agree that time under the Speedy Trial Act from the date of lodging of the stipulation

 8   through January 27, 2017 should be excluded in computing the time within which trial
 9
     must commence under the Speedy Trial Act, pursuant to Title 18 U.S.C. section
10
11   3161(H)(7)(B)(iv) and Local Code T4, and that the ends of justice to be served by

12   granting a continuance outweigh the best interests of the public and the defendant in a
13
     speedy trial.
14
15
     Dated: October 6, 2016                   Respectfully submitted,
16
                                              STEVEN B. PLESSER
17
18
                                              /s/ Steven B. Plesser
19                                            STEVEN B. PLESSER
20                                            Attorney for defendant
21   Dated: October 6, 2016                   PHILLIP A. TALBERT
22                                            Acting United States Attorney
23
24                                            /s/ STEVEN B. PLESSER for:
                                              JUSTIN LEE
25                                            Assistant U.S. Attorney
26                                            Attorney for Plaintiff
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             Case 2:15-cr-00209-JAM Document 166 Filed 10/07/16 Page 3 of 3


 1                                           ORDER
 2
            IT IS SO ORDERED. There shall be an exclusion of time in computing the time
 3
 4   within which trial must commence under the Speedy Trial Act, pursuant to Title 18

 5   U.S.C. section 3161(H)(7)(B)(iv) and Local Code T4, and the court hereby finds that the
 6
     ends of justice to be served by granting a continuance outweigh the best interests of the
 7
     public and the defendant in a speedy trial.
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     Dated: October 7, 2016
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